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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

DEREK AND ZELMA EMRIE,           )
                                 )
           Plaintiffs,           )
                                 )              CIVIL ACTION
v.                               )              FILE NO. 4:13-cv-01410-SNLJ
                                 )
CLIENT SERVICES, INC.,           )
                                 )
           Defendant.            )
_________________________________)

            NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT

      NOW COME PLAINTIFFS, by and through their attorney, Anthony LaCroix,

pursuant to Federal Rule of Civil Procedure 68 and hereby accept Defendant Client

Services, Inc.’s offer of judgment in the amount of $3,500.00, which is attached hereto as

Exhibit A. The issue of attorney fees and court costs remains pending.

      Dated: December 2, 2013.
                                         Respectfully submitted,

                                         /s/ Anthony LaCroix
                                         Anthony LaCroix
                                         LaCroix Law Firm, LLC
                                         Bar No.60793
                                         4235 Baltimore Ave.
                                         Kansas City MO 64111
                                         Phone: (816) 399-4380
                                         Facsimile: (866) 565-1327
                                         tony@lacroixlawkc.com
                                         Lead Counsel for Plaintiffs




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                           CERTIFICATE OF SERVICE

      I certify that on December 2, 2013, a true and correct copy of Plaintiffs’ Notice of

Acceptance of Offer of Judgment was filed with the Clerk of the U.S. District Court for

the Eastern District of Missouri using the CM/ECF system of the Court. Copy of the

foregoing was served on Defendant, Client Services, Inc., through counsel of record

below via the Court’s CM/ECF system on this 2nd day of December, 2013 as follows:

      Matthew J. Aplington
      The Lowenbaum Partnership, LLC
      222 South Central, Suite 901
      Clayton, MO 63105
      maplington@lowenbaumlaw.com


                                         /s/ Anthony LaCroix
                                         Anthony LaCroix




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